
54 N.Y.2d 738 (1981)
In the Matter of the Arbitration between Dutchess County Chapter, Civil Service Employees Association, Inc., Respondent, and Dutchess County et al., Appellants.
Court of Appeals of the State of New York.
Decided July 7, 1981.
Stephen J. Wing, County Attorney (Ian G. MacDonald of counsel), for appellants.
Michael J. Smith and Thomas D. Mahar, Jr., for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On summary consideration, order affirmed, with costs. Public policy does not preclude a Sheriff from agreeing to submit for resolution by arbitration questions as to whether assignments to a Deputy Sheriff violate provisions of their collective bargaining agreement concerning out-of-title work assignments. That being so the award of the arbitrator, involving an interpretation of a job description and not the creation or classification of a new position, does not offend public policy. In addition, we cannot say as a matter of law that the award is so irrational as to warrant vacatur.
